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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


 Janet Malam,

                         Petitioner-     Case No. 20-10829
                         Plaintiff,
                                         Judith E. Levy
 and                                     United States District Judge

 Qaid Alhalmi, Baldemar Barajas Mag. Judge Anthony P. Patti
 Santoyo, Sergio Brito, Tomas
 Cardona Ramirez, Guo Yan Lin
 Castro, Ruby Briselda Escobar,
 Jose Mauricio Garcia Toledo, Jose
 Gomez Santiz, Julio Fernando
 Medina Euceda, Isaac Orta Vieyra,
 Damary Rordriguez Salabarria,
 Emanuel Rosales Borboa, Rudy
 Sosa Carillo, Amer Toma, and Min
 Dan Zhang,

                Plaintiff-Intervenors,

 v.

 Rebecca Adducci, et al.,


                         Respondents.

 ________________________________/

         SECOND ORDER REGARDING PUBLIC ACCESS
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      Because this case was coded as an immigration case, there are

limitations on public access to court filings. See Fed. R. Civ. P. 5.2(c). The

Court entered an Order regarding public access on May 4, 2020 (ECF No.

56), establishing a due date for objections. On May 6, 2020, Defendants

requested that the Court not require redactions of Plaintiffs’ medical

conditions, immigration history, and criminal backgrounds. (ECF No.

60.) On May 6, 2020, Plaintiffs requested that the Court adopt a more

expansive definition of protected information, to include confidential

health information and medical records, personal information covered by

the Privacy Act, and certain information related to immigration claims.

(ECF No. 61.) Plaintiffs also proposed streamlined redaction and sealing

procedures. (Id. at PageID.1794–1795.)

      Balancing the public importance of this case and the need to protect

sensitive personal information, the Court holds that the parties must

redact and/or seal the following information:

          Confidential health information and medical records that
           appear as exhibits. This does not include discussion of medical
           conditions that appears in briefs.

          Personal information covered by the Privacy Act, 5 U.S.C. §
           552a and Federal Rule of Civil Procedure 5.2.


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          Individuals’ birth dates, social security numbers, tax
           identification numbers, alien registration numbers (“A
           number”), passport numbers, driver’s license numbers, and
           any similar numbers assigned to an individual by a
           federal/national, state, or local government of the United
           States or any other country.

          Information about immigration claims related to asylum,
           relief under the withholding statute, 8 U.S.C. § 1231(b),
           Convention Against Torture, or trafficking.

       Additionally, the Court adopts the following procedures for

redacting and sealing such information:

      For Future Filings

      (1) The parties shall file any documents that contain sensitive

information as defined above under seal with the Court. No further

motion for sealing shall be required. This order does not prevent a party

from voluntarily including sensitive information about themself in a

public filing.

      (2) The filing party will file a copy of the document redacting the

sensitive information with the public CM/ECF system, except that

documents consisting solely of medical or immigration records need not

be refiled in a redacted form on the public CM/ECF system.


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      For Documents Already in the Record

      (3) By May 13, 2020, the parties will identify which docket entries

in the record contain sensitive information and which do not, and shall

provide a list of those docket entries to the Court and opposing counsel.

The Court will order the Clerk to place all docket entries that contain

sensitive information under seal, and shall make all other docket entries

publicly available.

      (4) The parties will refile with the public CM/ECF system redacted

versions of all pleadings and exhibits that contain sensitive information

within ten days of entry of this Order, except that documents consisting

solely of medical or immigration records need not be refiled in a redacted

form on the public CM/ECF system. Each party shall be responsible for

redacting and refiling the documents it previously filed.

      IT IS SO ORDERED.

Dated: May 6, 2020                        s/Judith E. Levy
Ann Arbor, Michigan                       JUDITH E. LEVY
                                          United States District Judge




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                     CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on May 6, 2020.
                                          s/William Barkholz
                                          WILLIAM BARKHOLZ
                                          Case Manager




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